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                        EXHIBIT 27
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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

  COMMONWEALTH OF
  MASSACHUSETTS, et al.,
                 Plaintiffs,

                                                   Civil Action No.
         v.
  NATIONAL INSTITUTES OF HEALTH, et
  al.,
                 Defendants.


                        DECLARATION OF J. MICHAEL GOWER


       I, J. Michael Gower, pursuant to 28 U.S.C. § 1746, hereby declare that the following is
true and correct:

1. I am the Executive Vice President – Chief Financial Officer & Treasurer at Rutgers, the State

   University of New Jersey (“Rutgers”). My educational background includes a BA in Political

   Science and a MBA, each from Duke University. I have been employed as Rutgers’s Chief

   Financial Officer & Treasurer since September 30, 2013. I have been employed as the Chief

   Financial Officer at two other universities, each with significant research awards from the

   National Institutes of Health. I also served as the Chief Financial Officer at the Duke

   University School of Medicine.

2. I submit this Declaration to explain certain impacts on Rutgers resulting from the February 7,

   2025, National Institutes of Health (“NIH”) Notice Number NOT-OD-25-068, Supplemental

   Guidance to the 2024 NIH Grants Policy Statement: Indirect Cost Rates, (“NIH

   Supplemental Guidance”). I have compiled the information in the statements set forth below

   through review of Rutgers’s records and other documents gathered by Rutgers personnel who
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   have assisted me and on the basis of documents that have been provided to and/or reviewed

   by me. I have also familiarized myself with the NIH Supplemental Guidance in order to

   understand its immediate impact on Rutgers.

3. In addition to providing higher education to students from New Jersey and across the nation,

   Rutgers also supports significant medical and behavioral research and clinical trials across its

   colleges and schools. Rutgers conducts vital research across a wide range of areas including

   heart disease, cancer, neuroscience and brain health, and infectious disease.

4. To fund these crucial medical research programs, Rutgers is the recipient of federal funding,

   including annual funding from NIH in the total amount of approximately $250 million. NIH

   funding at Rutgers currently supports nearly 1,200 separate grants and more than 2,400

   employees.

5. This funding includes both direct as well as “indirect costs,” referred to as Facilities and

   Administrative costs (“F&A”), which cover expenses including but not limited to research

   administration, the operation and maintenance of lab facilities, the cost of utilities,

   maintenance of required regulatory and financial teams and other support staff, and overall

   operations that enable research institutions to continue to survive.

6. Rutgers’s previously-negotiated rate agreement with the U.S. Department of Health and

   Human Services, for use by most federal agencies, set the rate for F&A costs at 57% of

   modified total direct costs for on-campus research.

7. On February 7, 2025, through the NIH Supplemental Guidance, NIH informed Rutgers that,

   effective February 10, 2025, it would be applying a standard indirect (F&A) cost rate of 15%

   to all grants, including ones already awarded.
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8.   NIH’s reduction of Rutgers’s indirect cost rate will eliminate approximately $21.6 million in

     funding for this fiscal year, ending June 30, 2025. This is critical funding that Rutgers uses to

     support its research programs. The loss of these funds will have an immediate impact on

     Rutgers’s ability to pay for the upkeep of research facilities, bonds used to construct research

     facilities, utilities for research facilities, managing payroll, accounting and research

     administration, and for other infrastructure used to support research.

9. If Rutgers’s NIH funding remains at $250 million for next fiscal year, with the decrease in

     the indirect cost rate from 57% to 15%, Rutgers projects an annual loss of approximately

     $57.5 million for the fiscal year July 1, 2025, through June 30, 2026.

10. The NIH Supplemental Guidance implementing this significant decrease in the indirect cost

     rate will have a destabilizing financial impact on how Rutgers advances medical research in

     support of its patients, communities, and the state of New Jersey, not to mention on the

     livelihoods of our faculty and staff researchers. For example, the University will not be able

     to accept or maintain many research awards, thus eliminating entire research initiatives.

11. The decrease in the indirect cost rate will cause significant disruption to Rutgers’s operations.

     Rutgers will need to take extraordinary measures to address and mitigate the loss of funding,

     including but not limited to layoffs of personnel, the closing of labs, shuttering research

     buildings, and the cessation of many, if not most, biomedical research programs. Rutgers

     does not have the resources to fund the indirect costs for our existing NIH grant portfolio at

     the announced flat rate over an extended period.

12. Included in the NIH-funded projects that would be impacted are those in partnership with

     other institutions in New Jersey.
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       a. That includes the Rutgers Cancer Institute of New Jersey (“CINJ”), a consortium with

           Princeton University, which is New Jersey’s only National Cancer Institute-

           designated Comprehensive Cancer Center. CINJ conducts groundbreaking cancer

           research to advance the prevention and treatment of cancer.

       b. That also includes the New Jersey Alliance for Clinical and Translational Science, a

           partnership among four institutions: Rutgers, Princeton University, the New Jersey

           Institute of Technology, and RWJBarnabas Health.


   I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

   Executed this 9th day of February, 2025, in New Brunswick, NJ.




                                                    J. Michael Gower
                                                    Executive Vice President – Chief Financial
                                                    Officer & Treasurer
                                                    Rutgers, The State University of New Jersey
